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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
                                                                    13     I 9 AH fO= 27
UNITED STATES OF AMERICA,                    CASE NO. 13CRl165-MMA,,',           '''I'"

                                                                                 t'    1:.
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                                                                                 "    • - -    ~J n ~-i




                        Plaintiff,
                 vs.                         JUDGMENT OF DISMISSAL          ~E?UTY
DAVID CONRIQUE (01),

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

-X-   the Court has granted the motion of the Government for dismissal,
      without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

       the jury has returned its verdict, finding the defendant not guilty;

       of the offense(s) as charged in the Indictment/Information:




             IT IS THEREFORE ADJUDGED that                                 y discharged.


 DATED: 11/18/2013
                                             Michael M. Anello
                                             U.S. District Judge
